Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 1 of 19 PageID: 932




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

  BRISTOL MYERS SQUIBB COMPANY,

                      Plaintiff,

  vs.

  XAVIER BECERRA, in his official capacity as
  Secretary of the U.S. Department of Health and
  Human Services; the U.S. DEPARTMENT OF
  HEALTH AND HUMAN SERVICES; CHIQUITA              Civil Action No. 23-3335(ZNQ)(JBD)
  BROOKS-LASURE, in her official capacity as
  Administrator of the Centers for Medicare and
  Medicaid Services; and the CENTERS FOR
  MEDICARE AND MEDICAID SERVICES,

                      Defendants.


                           BRIEF OF AMICUS CURIAE
                        FRESENIUS KABI IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

               Justin T. Quinn                             Imron T. Aly
            Robinson Miller LLC                          Kevin M. Nelson
          110 Edison Place, Suite 302                    Joel M. Wallace
              Newark, NJ 07102                         ArentFox Schiff LLC
                                                        233 S. Wacker Dr.
          Counsel for Amicus Curiae                     Chicago, IL 60606
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 2 of 19 PageID: 933




                                                TABLE OF CONTENTS

 I.    THE IRA WILL ADVERSELY IMPACT THE AVAILABILITY OF GENERIC
       AND BIOSIMILAR PRODUCTS, WHICH PROVIDE REAL CONSUMER
       SAVINGS .......................................................................................................................... 3
       A.         The IRA Disincentivizes Innovation, Which Means No Development Of
                  Cost-Saving Generic And Biosimilar Versions Of New Drugs............................. 3
       B.         If Generic And Biosimilar Manufacturers Exit The Industry, There Will
                  Be Increased Drug Shortages And Fewer Low-Cost Options For Drugs In
                  The Private Market ................................................................................................ 6
 II.   THE CMS GUIDANCE DISCOURAGES INVESTMENT IN GENERIC AND
       BIOSIMILAR DRUG PRODUCTS AND WILL DISRUPT SETTLEMENTS
       THAT BENEFIT PATIENTS............................................................................................ 8




                                                                   i
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 3 of 19 PageID: 934




                           TABLE OF AUTHORITIES

 FTC v. Actavis, Inc, 570 U.S. 136 (2013)…………………………………………………………9




                                       ii
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 4 of 19 PageID: 935




                                    INTEREST OF AMICUS

        Amicus Curiae Fresenius Kabi USA, LLC (“Fresenius Kabi”), is a health care company

 that specializes in bringing affordable medicines to patients with critical and chronic conditions.1

 Fresenius Kabi manufactures injectable medicines, biosimilars and medical technologies and

 employs more than 4,000 people in the United States with key domestic manufacturing, research

 and development, and distribution centers in Illinois, Nevada, North and South Carolina, New

 York, Pennsylvania, and Wisconsin. Fresenius Kabi writes in support of Plaintiffs’ position in this

 action, but from the perspective of a company that develops generic and biosimilar medications.

        Fresenius Kabi believes innovation is critical to the future of our society, and the

 pharmaceutical industry cannot survive without it. There can be little argument that affordable

 drugs for patients are needed today. The regulatory scheme at issue in this case, however, amounts

 to arbitrary price controls, which may be intended to reduce prices but actually reduce generic and

 biosimilar availability. The price controls undermine incentives for companies to develop new

 drug products as well as for competitors to develop and provide generic and biosimilar alternatives,

 and generic and biosimilar medicines provide more effective and more sustainable reductions in

 drug prices than the Inflation Reduction Act (“IRA”).

        Market distortions and barriers to competition are causing the health care market to fail

 and drug prices to rise. The IRA acts as a blunt tool that does not treat the root cause of market

 failures. Because of this, unintended consequences will arise from the IRA that will ultimately

 make an already distorted market worse and further reduce access to drugs for American patients.

 Manufacturers of generic and biosimilar medicines can provide cost savings to Americans if the



 1
  Counsel for Amicus Fresenius Kabi USA, Inc. prepared this brief in whole without financial
 contributions from any other party.

                                                  1
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 5 of 19 PageID: 936




 true root causes of market distortions are corrected, which unfortunately are not at issue in this

 litigation because the IRA did not address them. But what the IRA did address ignored the

 Constitution and ignored the long-term impact on generic and biosimilar drug availability to the

 public.

           In short, the generic drug market as well as the burgeoning U.S. biosimilars market could

 thrive if anti-competitive barriers were simply removed and market forces restored. True market

 competition is the most effective driver of lower prices, not arbitrary Government controls.

 Although the generics market has provided huge savings to patients, there is a market distortion

 and cost problem that has impacted the most expensive complex drugs in the market, especially in

 Medicare Part D. These issues prompted Congress to “fix” high costs in this category with the IRA

 so-called “negotiation” provision. Instead, the negotiation provision restrains generic and

 biosimilar free market competition and sacrifices the public-health and economic benefits of

 competition and innovation in an effort to control prices.

           The two root causes of high drug prices in need of Government intervention are branded

 manufacturer patent abuse that prolongs monopolies past when drugs are considered innovative,

 and the misaligned incentives in Medicare Part D that have become warped over time and have

 made higher list price products more attractive to Medicare at the expense of excluding lower list

 price competition. Solving for these market manipulations would correct the problem and yield no

 long-term unintended consequences. Unintended consequences typically occur when root causes

 are not addressed, in favor of treating downstream symptoms, which is what the IRA price

 negotiation provision has done at the expense of Medicare beneficiaries in the long-term.




                                                   2
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 6 of 19 PageID: 937




                                           ARGUMENT

 I.     THE IRA WILL ADVERSELY IMPACT THE AVAILABILITY OF GENERIC
        AND BIOSIMILAR PRODUCTS, WHICH PROVIDE REAL CONSUMER
        SAVINGS

        Most prescriptions filled in the United States are for generic drug products, which provide

 consumers billions of dollars in cost savings. Market projections show that American patients will

 save $54 billion from 2017-2026 with the introduction of biosimilar products.2 Plaintiffs’ brief

 describes the deleterious effects of the IRA on biologics companies that first launch a new biologic,

 but the IRA also affects the generic and biosimilar drug industry. Because the IRA is likely to

 undermine incentives to develop new products, as noted in Plaintiffs’ submissions, so too will

 generic and biosimilar manufacturers have fewer viable target products to pursue. This translates

 to fewer new drugs in the short run, and fewer lower-cost options for the quality care of American

 patients in the long run. Moreover, the generic industry serves a vital role in maintaining supply

 for many older, but essential, life-saving drugs, which must remain viable in order to avoid likely

 drug shortages. Furthermore, generic and biosimilar companies can provide more effective and

 more sustainable price reductions for drugs than the IRA, but free market competition may never

 occur if the IRA discourages development of generic and biosimilar medicines in the first place.

        A.      The IRA Disincentivizes Innovation, Which Means No Development of Cost-
                Saving Generic and Biosimilar Versions of New Drugs.

        The IRA undermines the incentives that brands would have in a true free market to develop

 new products and for generics to develop low-cost alternatives. In particular, the “negotiation”

 requires that the price of the branded products to be at a lower price than the existing marketed

 price. Moreover, the current scheme would allow the government a “take it or leave it” proposition


 2
  Building a better market for biologics: the US vs. Europe. Bionest blog, July 1, 2019. Accessed
 May 20. 2022. https://bionest.com/biologics-us-vs-europe.

                                                  3
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 7 of 19 PageID: 938




 of reducing the price of a drug to below its production cost, thus entirely destroying the value of

 the property. If the manufacturer doesn’t agree, it owes an outsized “tax” or is forced to take, not

 just the product in question out of Medicare, but all products produced by the manufacturer must

 exit the program. Similar issues affect generics and biosimilars, only slightly later in time.

        Plaintiffs described in detail how the IRA rules improperly force enormous price discounts

 from branded companies—25%-60% or even more in some cases—under the pressure of extreme

 penalties. Plaintiffs further described how this scheme undermines the incentive for branded

 companies to develop new drug products because of the purported high costs of development and

 risk of not ultimately making a profit. The market dynamics in turn affect generic and biosimilar

 companies, who would like to see true market competition as a way of price-setting, rather than

 the artificial regulations implementing the IRA.

        Indeed, one impact of the IRA Guidance is that branded companies are actively

 discouraged from investigating new indications for existing products. In the pre-IRA system, if a

 company conducted clinical trials to determine if an already-existing drug can be used to treat a

 different condition—e.g., a fertility treatment can also be used to treat prostate cancer—then that

 company can potentially receive additional patents and additional regulatory protections and

 incentives. These incentives encourage research in expanding the use of current drugs, in addition

 to seeking costly new drugs.

        These incentives also help the generic industry. In particular, if an FDA-approved drug is

 approved for multiple indications, and there are separate patents for the different indications, then

 this creates a pathway for generic and biosimilar manufacturers to gain approval for a version of

 the drug that only seeks approval for one of the off-patent indications. This benefits consumers




                                                    4
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 8 of 19 PageID: 939




 because the expansion of indications often increases the number of treatment options for

 physicians, while also creating a pathway for lower-cost treatments.

          The IRA strips away the incentive for branded companies to pursue new indications for

 approved drugs. In particular, the Centers for Medicare and Medicaid Services (“CMS”) Guidance

 make clear that it only considers the amount of time the active ingredient has been FDA-approved

 in determining whether a product should be listed for negotiations. As a result, if a drug has been

 on the market for seven years, and the innovator tests it for another disease state, that drug will not

 be considered a new product, and so the drug will still be eligible for selection for negotiations. In

 fact, if proposing a new indication would increase the sales of a particular drug, then it would make

 that drug more likely to be selected for negotiation because it would more likely rise into the top

 sellers list. More concretely, if a brand owns a drug with sales that are below the threshold for

 selection for negotiations, then it would not want to add an indication, potentially moving that drug

 into the negotiation list, without the opportunity to recover the investment needed to add that

 indication in the first place. As such, the IRA actively discourages branded companies from

 seeking new indications for existing drugs.

          One particularly troubling consequence of the IRA is that it could incentivize branded drug

 companies to slow-walk obtaining their initial FDA approval on new drugs for indications that

 affect small populations of patients until the branded drug company is ready to obtain FDA

 approval for a more valuable set of label indications for their new drug. This is because the IRA

 provides branded drug companies with 11 years to reap their return on investment, as compared to

 the patent statutes that provide up to 14 years for patent term extension (PTE).3 In a post-IRA

 world, we would likely see other countries gaining access to new drugs before the U.S., a scenario


 3
     35 U.S.C. § 156(c)(3).

                                                   5
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 9 of 19 PageID: 940




 that hasn’t happened in recent history. This harms consumers by potentially reducing and/or

 delaying treatment options, and harms generic and biosimilar manufacturers by reducing pathways

 for securing approval of lower-priced versions of drugs for at least some indications.

        B.      If Generic and Biosimilar Manufacturers Exit The Industry, There Will Be
                Increased Drug Shortages And Fewer Low-Cost Options For Drugs In The
                Private Market

        The unreasonable pricing pressure that results from implementation of the IRA may

 disincentivize generic and biosimilar companies from pursuing existing pharmaceutical products.

 Upon entry of competing products, generic and biosimilar companies offer their products at

 reduced list prices as compared to the associated reference branded product to benefit purchasers

 who choose their product.

        Entering a market where the branded drug is subjected to government price negotiation is

 a particularly acute problem when it comes to biosimilar products. The development costs for

 biosimilar products are extremely high and the timeline for development and approval are long—

 approximately $150 million over eight years.4 Before committing to these costs and years of

 resources, biosimilar companies need certainty of return on investment However, the IRA creates

 huge uncertainty as to how the market will form after price negotiation because the legislation sets

 out a price ceiling but not a price floor. For example, the government could demand a 90% discount

 under the threat of the extreme penalties under the IRA. Furthermore, there is no way to determine

 which drugs will eventually be negotiated at the time when biosimilar companies are initiating

 their 8-year development programs. Uncertainty is bad for business. Without the certainty of


 4
  Blackstone, E. & Fuhr Joseph, P., The Economics of Biosimilars, 6(8) AM. HEALTH DRUG
 BENEFITS 469, 469 (Sep.-Oct. 2013), available at:
 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4031732/; Chen et al., An Inflection Point for
 Biosimilars, McKinsey & Co., (Jun. 7, 2021), https://www.mckinsey.com/industries/life-
 sciences/our-insights/an-inflection-point-for-biosimilars.

                                                  6
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 10 of 19 PageID: 941




  knowing whether there will be a return on investment, fewer generics and biosimilars may be

  developed and companies may start to exit this industry entirely before the biosimilar industry has

  had the chance to take off and achieve meaningful cost savings. With competitors exiting the

  market, there will also likely be less price reduction in the private health care market as well as

  increased risk of drug shortages. The American public is currently facing shortages of several

  essential medicines, in markets where unreasonable pricing pressure has forced the procurement

  price below the cost of production.5 These market dynamics are unsustainable and are forcing

  manufacturers into difficult choices – even to reduce or discontinue production of certain products.

  As but one example, the main generic manufacturer of cisplatin, an important but inexpensive

  cancer drug, exited the market for quality reasons driven by unsustainable pricing pressures,

  leaving uncertainty in the market about whether demand can be met for U.S. patients.6 We fear

  similar consequences in several years for “negotiated” drugs that mimic the cisplatin scenario,

  especially if the originator manufacturer remains the only supplier. Although Government

  “negotiation” could be beneficial in the short-term, the long-term effects of having only a single

  brand supplying aging drugs will not be effective, and could even be dangerous, as the branded

  manufacturer looking to innovate newer treatments would have little incentive to keep producing

  the old drugs that may cannibalize their new products. The IRA cudgel is short-sighted.




  5
   https://www.cbsnews.com/news/generic-drugs-pharmaceutical-companies-60-minutes-2022-
  05-22/
  6
      https://www.nbcnews.com/specials/cisplatin-shortage-cancer-drug-chemotherapy-us/index.html

                                                   7
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 11 of 19 PageID: 942




  II.        THE CMS GUIDANCE DISCOURAGES INVESTMENT IN GENERIC AND
             BIOSIMILAR DRUG PRODUCTS AND WILL DISRUPT SETTLEMENTS THAT
             BENEFIT PATIENTS

             Plaintiffs’ brief makes clear that there is a strong incentive for branded companies to have

  their products removed from the list of drugs subject to negotiations. The most appealing way

  appears to be that a drug is a “Reference Listed Drug,” or RLD, for a generic or biosimilar drug

  that is being marketed. According to the FDA, an RLD is the drug that generic companies use to

  compare efficacy. As discussed above, when a generic product comes on the market, the price of

  a drug becomes somewhat lower, but that price reduction is a direct function of the number of

  competitors on the market. More specifically, it is understood that in a two-player market,

  pharmaceutical net costs reduce to about 75% of the previous net cost.7 The cost can drop to about

  50% when a third competitor enters the market, and continues to fall, until a highly competitive

  market results.8

             Based on these well-understood principles, a branded manufacturer is incentivized under

  the CMS Guidelines to enter into an agreement to provide the appropriate licenses to allow a single

  generic to come to market, and then only on limited terms, to avoid the negotiations list. Outside

  the context of the IRA, settlements have been positive for consumers, especially recently. For

  example, for both small molecules and biosimilars, settlements encouraged resolution of patent

  infringement lawsuits with strongly-positioned parties and led to earlier entry of lower-cost

  versions of drugs before patent expiry, generating savings for users.




  7
   See FDA Report, Estimating Cost Savings from New Generic Drug Approvals in 2018, 2019,
  and 2020, at p. 4, available at https://www.fda.gov/media/161540/download (last visited Aug.
  22, 2023).
  8
      Id. at p. 9.

                                                      8
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 12 of 19 PageID: 943




         In June 2013, the Supreme Court rendered its decision in FTC v. Actavis, Inc, which held

  so called “pay for delay” settlements to be anti-competitive. 570 U.S. 136. Since then, potentially

  anti-competitive settlements have been seriously curtailed through actions by Congress and

  through robust review of settlement agreements by the DOJ and FTC. Today, the reliance on pro-

  competitive settlements enables biosimilars and generic medicines to reach the market prior to

  patent expiry.

         Also, the reliance on pro-competitive settlements in the current environment is a symptom

  of a key root cause of delayed generic and biosimilar market entry which is branded drug patent

  thickets, asserted against biosimilar and generic competition after the basic product patent has

  expired. Both the Food and Drug Administration (FDA), Department of Health Human Services

  (HHS) and the academic community have pointed to “patent thickets” as an important way that

  drug companies inappropriately delay competition9,10.

         The CMS Guidance creates an entirely new set of considerations to enter into a settlement

  that are less beneficial to the public. Under the CMS Guidance, branded manufacturers are

  incentivized to enter into settlement agreements not because of the threat of generic competition,

  but instead to do the bare minimum to avoid being placed on the negotiation list. In other words,

  a brand may license a company on very limited terms and use its patents to prevent further

  competition by others, thereby locking in a weak two-player market, a “duopoly.”




  9
   Secretary Xavier Becerra, U.S. Department of Health and Human Services, Comprehensive
  Plan for Addressing High Drug Prices (Sept. 9, 2021); Letter from Janet Woodcock, Acting
  Commission of Food and Drugs (Sept 10, 2021).
  10
    Rachel Goode , Bernard Chao, Biological patent thickets and delayed access to biosimilars, an
  American problem, Journal of Law and the Biosciences, Volume 9, Issue 2, July-December
  2022, lsac022, https://doi.org/10.1093/jlb/lsac022

                                                  9
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 13 of 19 PageID: 944




            Typically, the strongest patent in the portfolio is the basic product patent and Congress has

  provided for statutory patent term extensions (PTE) to allow for the patent to stay in force up to

  14 years from FDA approval.11 Under the IRA, branded manufacturers are incentivized to enter

  into settlement agreements with generic and biosimilar manufacturers at 11 years from FDA

  approval to avoid the price negotiation process.12 Negotiation of a patent settlement with a generic

  or biosimilar manufacturer, while the strongest patent in the portfolio is still in force, can provide

  branded drug companies with unreasonable leverage over biosimilar/generic competitors who

  would need a license to the patent to be able to compete. For example, branded drug companies

  could give a limited settlement to a biosimilar/generic competitor to reduce their market

  penetration, which has a direct relationship with drug pricing.

            The CMS created even more problems with the “Initial Delay Request” protocol, whereby

  a branded manufacturer can seek to avoid the negotiation period, which thanks to CMS regulations

  will end up nearly impossible to meet for all practical purposes. That is because the Special Rule

  Delay (also known as “the two-year pause” on price negotiation) contains competition-restraining

  statutory eligibility requirements, which the CMS guidance took to another extreme. In particular,

  the CMS guidance sets out three alternative criteria for triggering the two year pause by year 11:

            “CMS will consider this requirement met if (1) there are no non-expired approved
            patent applications relating to the Reference Drug that are applicable to the
            Biosimilar; (2) one or more court decisions establish the invalidity,
            unenforceability, or non-infringement of any potentially applicable non-expired

  11
       35 U.S.C. § 156(c)(3).
  12
    The Public Health Service (PHS) Act provides a 12-year market exclusivity period for branded
  biologics, meaning that the FDA is prevented from approving a biosimilar until 12 years have
  passed from the date of first licensure of the branded biologic. (FDA Guidance for Industry:
  Reference Product Exclusivity for Biological Products Filed Under Section 351(a) of the PHS
  Act. https://www.fda.gov/media/89049/download.) The 11-year grace period before drug
  selection offers little relief for biosimilars, as a biosimilar cannot be approved, let alone
  marketed, for 12 years after approval of an exclusivity-eligible reference product.

                                                     10
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 14 of 19 PageID: 945




         patent relating to the Reference Drug that the patent holder asserted was applicable
         to the Biosimilar; or (3) the Biosimilar Manufacturer has a signed legal agreement
         with the Reference Manufacturer that permits the Biosimilar Manufacturer to
         market the Biosimilar in one or more dosage form(s), strength(s), and
         indication(s)…”13

  As described in more detail below, all three criteria are effectively impossible to meet and would

  render the Special Rule Delay dead-on-arrival, in contravention of Congress’s clear intent to

  preserve this avenue for biosimilar competition.

         CMS’s first criterion, that there are no, non-expired patents “relating” to the reference

  product and “applicable” to the biosimilar, fails to acknowledge the practices of reference product

  sponsors and realities of the patent system. Reference products typically have extensive patent

  portfolios, that can include hundreds of patents. If just one of those patents were filed and issued

  after approval, a biosimilar could not satisfy this criterion. There is always a risk that some patent

  exists that could conceivably cover the biosimilar. That does not mean, however, that such patents

  pose a risk to launch. Indeed, a biosimilar manufacturer may have robust evidence that a patent is

  likely invalid or not infringed and plans to launch notwithstanding ongoing litigation. Meeting this

  threshold becomes even more strained when considering CMS’s broad language of “related” to

  the reference product and “applicable” to the biosimilar. Such language could encompass patents

  on anything from a piece of equipment, a particular assay, or a spring used in an autoinjector. It is

  thus simply not feasible that all such patents would have expired within 11 years post-approval of

  the reference product.

         As to the second criterion, a court decision on the merits, patent litigation is slow and

  generally takes three to five years to reach final decisions by the district court and Federal Circuit.



  13
   CMS Revised Guidance, at 19, available at https://www.cms.gov/files/document/revised-
  medicare-drug-price-negotiation-program-guidance-june-2023.pdf (last visited Aug. 22, 2023).

                                                    11
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 15 of 19 PageID: 946




  As a starting point, the earliest that BPCIA litigation can start is the FDA acceptance of the

  biosimilar aBLA. This would necessitate biosimilar 351(k) BLA submission by 6-7 years

  following FDA approval of the reference product in order to finalize the litigation by year 11. But

  biosimilar development cannot begin until FDA approval of the reference product, due to the need

  to purchase reference product samples for characterization. Biosimilar development then can

  easily take 8-9 years, rendering it almost impossible to submit the 351(k) BLA submission by year

  7. Outside of the context of the IRA, biosimilar development programs typically target FDA

  approval at year 12 upon the expiry of the market exclusivity period or by year 14 upon the expiry

  of the patent PTE. Expecting a biosimilar to have somehow predicted the IRA and submitted its

  351(k) BLA under this accelerated timeframe is unreasonable and unworkable.

         The CMS therefore essentially “strong arms” the third and only remaining criterion to

  demonstrate “high likelihood” of marketing, namely to enter into a patent settlement. As explained

  above, negotiation of a patent settlement at year 11, while the strongest patent in the portfolio is

  still in force, can provide branded drug companies with unreasonable leverage over

  biosimilar/generic competitors who would need a license to the patent to be able to compete.

  Contrarily, as explained below, in its updated Guidance of June 30, 2023, CMS explained that it

  would not allow the two-year pause if the biosimilar manufacturer entered into any agreement with

  the Reference Manufacturer that incentivizes the biosimilar manufacturer to submit an Initial

  Delay Request.14 Therefore, on the one hand, CMS requires a biosimilar manufacturer to obtain a

  patent settlement far earlier than it would normally outside of the context of the IRA, while on the




  14
    https://www.cms.gov/files/document/revised-medicare-drug-price-negotiation-program-
  guidance-june-2023.pdf, see page 21.

                                                  12
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 16 of 19 PageID: 947




  other hand, the settlement must not incentivize the biosimilar to submit the request for the two-

  year pause. These requirements are contradictory and unworkable.

         Settlements entered into under the duress of the IRA also devalue potentially valid patents

  and are a serious threat to innovation. Settlements in general under normal market conditions avoid

  the potential for gamesmanship by branded drug companies under the CMS structure.

         CMS seems to have realized the problems created by its Guidelines, but even its subsequent

  “fixes” provide more potential problems than solutions. In its updated Guidance of June 30, 2023,

  CMS attempted to restrict access to the Initial Delay Request on price negotiation if a settlement

  agreement between an originator and a biosimilar competitor was entered into in contemplation of

  delaying the IRA’s price negotiation process.15 However, patent settlements are the wrong target.

  As explained above, settlements are a critical tool that enable biosimilars and generic drugs to get

  onto the market as early as possible and prior to patent expiry. So long as there is a valid and

  infringed patent in force, then a settlement is the only way for a biosimilar or generic medicine to

  compete. Closing the door on pro-competitive settlements further undermines the generic and

  biosimilar industry. For biosimilar and generic drugs to be able to compete, patent settlements

  should be protected and strengthened to promote competitive pricing.

         In the context of the IRA loophole that allows settlements that provide for limited volume

  launches by a competitor (a “duopoly”), CMS recently proposed a fix, namely a “bona fide

  marketing” standard that requires the brand to participate in the negotiation program if a biosimilar

  or generic competitor does not capture a certain market share percentage in a certain time period




  15
    https://www.cms.gov/files/document/revised-medicare-drug-price-negotiation-program-
  guidance-june-2023.pdf, see page 21

                                                   13
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 17 of 19 PageID: 948




  post launch as one criteria.16 However, the problem is the IRA’s undefined and potentially ever-

  shifting definitions for appropriate market shares, particularly because market share does not have

  any bearing on actual cost savings a generic or biosimilar provides by entering the market. For

  example, AbbVie’s Humira has kept a large share of the market after biosimilar entry, but the

  entrance of biosimilars have caused a bigger cost savings to the Medicare program—even for

  AbbVie’s own product—in the form of a bigger rebate provided by the company, that leads to a

  lower net cost.

         It is not in the control of the biosimilar or generic manufacturer which list price or rebate

  package a PBM or the health plan in Part D prefers and the extraction of that rebate. Because a

  generic and biosimilar competitor cannot control its market share nor its market access, the bona

  fide marketing standard creates further uncertainty that will chill the incentives for companies to

  invest the resources and take the risks necessary to develop generics and biosimilars. This is highly

  problematic because generic and biosimilar medicines can provide more effective and more

  sustainable reductions in drug prices than the IRA.17

         Instead of measuring the success of market share, in the context of the IRA, the

  Government should simply confirm that limited-volume settlements will not be accepted to stop

  negotiation and should not tie success to market share or other tangential measures that may not

  be directly related to cost savings. The Government should consider a solution to the problem of

  “duopolies” by allowing all subsequent FDA-approved generic and biosimilar competition to



  16
   CMS Revised Guidance, at 74-75, available at https://www.cms.gov/files/document/revised-
  medicare-drug-price-negotiation-program-guidance-june-2023.pdf (last visited Aug. 22, 2023).
  17
    See Report: 2022 U.S. Generic and Biosimilar Medicines Savings Report | Association for
  Accessible Medicines (accessiblemeds.org), where generic and biosimilar medicines generated
  $373 billion in savings for the U.S. health care system.

                                                   14
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 18 of 19 PageID: 949




  launch at risk for a reduced patent infringement remedy to achieve multiple competitors and bigger

  cost reduction, only in cases where the branded manufacturer has chosen competition over “price

  negotiation.” This policy is needed to achieve true downward market pressure because Congress

  and the Administration have not addressed the root cause of patent thickets and other inappropriate

  patent schemes. When a brand chooses competition, they should choose true competition,

  including unfettered access to the market and multiple competitors. This is only achievable by

  continuing to allow patent settlements with clear ground rules.

                                             CONCLUSION

          Amicus Fresenius Kabi urges this Court to grant Plaintiffs’ Motion for Summary Judgment.

  As detailed in Plaintiffs’ brief, the current statute is not properly drafted to protect the rights of the

  Plaintiffs. Just as important, the current statute also fails in its alleged purpose—to secure lower

  cost drugs for consumers—because it ignores the root causes of high drug costs in a specific

  category of drugs. IRA upends the incentives that drive lower costs through true competition and

  replaces them with a system that will ultimately reduce innovation and meaningful competition,

  and may also threaten the drug supply.

  Dated: August 29, 2023                                   Respectfully submitted,

                                                           s/ Justin T. Quinn
                                                           Justin T. Quinn
                                                           Robinson Miller LLC
                                                           110 Edison Place, Suite 302
                                                           Newark, NJ 07102
                                                           973.690.5400
                                                           jquinn@rwmlegal.com

                                                           Imron T. Aly
                                                           Kevin M. Nelson
                                                           Joel M. Wallace
                                                           ARENTFOX SCHIFF LLC
                                                           233 S. Wacker Dr.
                                                           Suite 7100
                                                           Chicago, IL 60606

                                                     15
Case 3:23-cv-03335-ZNQ-JBD Document 37-1 Filed 08/29/23 Page 19 of 19 PageID: 950




                                            312.258.5500
                                            imron.aly@afslaw.com
                                            kevin.nelson@afslaw.com
                                            joel.wallace@afslaw.com

                                            Attorneys for Amicus Curiae
                                            Fresenius Kabi USA, LLC




                                       16
